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EXHIBIT D
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Rab, 8 nm AY LGR

LSI Laffey Matrix

Adjustments to the 1988-1989 Laffey Matrix Rates Using the Legal Services Index!

20th+
llith- 19th
8th - 10th
4th - 7th
Ist - 3rd
ParalegalLaw Clerk
Adjusmient Factor

1.070028) 1.079406] 1.044462) 1.051083] 1.055228] 1.023726) 1.032038] 1.039630] 1.041931

? Laffey refers wo Laffey v. Northwest tirlines, 572 F. Supp. 354 (D.D.C. 1983), affirmed m part and reversed in part on other grounds, 746
F.2d 4 (D.C. Cir. 1984), overruled im part on other grounds, Save Our Cumberland Mormtains v. Hodel, 857 F.2d 1516, 1525 (D.C. Car.

1988)(en banc).
> The rates in this column represent the 1989 update to the Laffzy matrix rates for Washington, D.C. See Covington v. District of Colunbia,

839 F. Supp. 894, 904 (D.D.C. 1993).
3 The Adjustment Factor refers to the legal services component of the Consumer Price Index produced by the Bureau of Labor Statistics of the
United States Department of Labor. Each Adjustment Factor 1s calculated by dividing the legal services component for June of the current

year by the component for June of the previous year.

c Ss y ry > & a
>> S/s/s/slslslslsl e/a
a = S ie “ e e $ e & S
ee P/S/ fll Fl/F// sl/l
oF S = = S = s = s = =
§ $ $ e = = $ = s =
> > > > = = > > >
20th+ $406 $42 $445 $468 $487 $523 $549 $574 $599 $614
Lith - 19th $337 $352 $369 $389 $404 3434 $436 S477 $497 $510
1/3

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a

S73 S/ s/f sel slfelslaslaiss

ie = s$ Ss = = s s s =

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os a/s/ 8 g/zgi/és -/ ge / gs I

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20th+ $797] $825, $865, $895] seo] so14] Soro] sos7] ofS

Lith- 19th $662] $oz6| $718] $743, $747|_~—$759| S763] s2o]— so]

&th- 10th $sBq Sous] $636] $558] Sect] $672] $676] $733, sol S|

4th 7th $4oe} s¥zi|_— Sasol $456] S458, $465] S468] $508] sol so

Jot - 3rd $230} $342] $3se| $371] 8372] $378] $381, saia|_——sol ss}

ParalegavLawCtrk | $180} $187] $195|  $202| $203] $206] $208] $225 so} $0)

Adjustment Factor” | 1.036543] 1.04699] 1.035079| 1.002920] 1.015894] 1.006053] 1.085091| 0.000000] 0.0c00cd!

$ Column repeated from previous page.

* The Bureau of-Labos Statistics of the United States Deparment of Labor did riot issue the legal services unponent of the. Price

Index for June 2022. Therefore, the average of the May and July components was used to calculate the 2022 Adjustment Factor. As provided
in footnote 3, the Adjustmeut Factor was calculated by dividing this average-by the legal services component for June 2022, which is the
same value as May and July 2021.
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TERRIS, PRAVLIK & MiLLIAN, LLP

Paralegal/Law Clerk $92 $96 $101 $106 $110 $118 $124 $130 $136] $139]
Adjustment Factor? 1.043902] 1.049065] 1.052895] 1.040719] 1.072663] 1.050687] 1.045537] 1.042691] 1.025641].
*Column repeated from previous page.
2
S ~~ ~
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PF / Fl Fl sl Fl slz/l sl/l e
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= s $ $ $ = $$ / $ $ $
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20th+ $614 $646] $672] $686] += $709] $734] «= $753| $772] «= $790) «= $797
11th- 19th $510| $536] $558] «= $570] «$589 «= $610] «= $626] «= $641] $656, $662
8th- 10th $452| $475] $494] $505] $522/ $s4il $554] $568] = $581] $586
4th - 7th $313| $329) $342] «$350 $362/ «$374! «= $384) «= $393] = $403] «$406
Ist - 3rd $254 $267| $278] $284] $293; $304) $312) $3191 $327) $330
ParakeaYLawCkrk| $139] $146) $152] $155] ici] $166) «= $171] $175] = S179] $180
Adjustment Factor® 1.051500] 1.040127] 1.021848) 1.033724] 1.035168] 1.025790) 1.024383] 1.023459] 1.008873
*Column repeated from previous page.
3

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